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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA, CRIMINAL NO. 23-
Plaintiff, Original District NO. 23-147

| L &E

SEP 26 2023

Defendant. CLERK’S OFFICE
/ U.S. DISTRICT COURT

SAJED AL-MAAREJ,

ORDER TRANSFERRING DEFENDANT TO ANSWER
TO CHARGES PENDING IN ANOTHER DISTRICT

This matter coming before the Court on the Government's Petition for Removal,
for the reasons stated on the record and pursuant to Rule 5(c)(3)(D) of the Federal

Rules of Criminal Procedure, it is hereby ordered that SAJED AL-MAAREJ

be transferred to the Western District of Washington for further proceedings in

the case of United States v. SAJED AL-MAAREJ who has been ordered

released pursuant to the Bail Reform Act of 1984 (18 U.S.C. Section 3141 et seq.), shall

appear at the following location at the following date/time: _October 10, 2023 at 11:00

Pacific time at the United States Courthouse located at 700 Stewart Street,

Seattle, WA 98101, Courtroom 12B.

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If defendant fails to appear as directed, he will be subject to arrest, revocation of
release, and detention, and he could be prosecuted and imprisoned for the crimes of

bond jumping or contempt of court. See 18 U.S.C. Sections 3146, 3148.

HONORABLE —
United State Magistrate Judge

Dated: OA (Ot [Dos 2

